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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON


MICHAEL KAADY,                                                     Case No. 3:21-cv-00966-AR

                      Plaintiff,                                           FINDINGS AND
                                                                       RECOMMENDATION
       v.


OFFICER ROBEL SHIFERAW, Officer
Portland Police Dept., NICOLE JERGOVIC
HARRIS, District Attorney, OFFICER
SABRINA DOBBS, Officer Portland Police
Dept., and PORTLAND POLICE BUREAU,

                      Defendants.

_____________________________________

ARMISTEAD, Magistrate Judge

       Plaintiff Michael Kaady brings this action under 42 U.S.C. § 1983 against defendants

Portland Police Officers Robel Shiferaw and Sabrina Dobbs, Multnomah County Deputy District

Attorney Nicole Jergovic Harris, and the Portland Police Bureau (PPB). Kaady alleges that

defendants violated his Fourth and Fourteenth Amendment rights by wrongfully arresting him


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without probable cause and forcing him to spend seven months in jail awaiting trial on charges

that ultimately were dropped. Kaady asserts that Shiferaw and Dobbs falsified a police report by

presenting out of context a statement he made and omitting crucial details about his alibi, and

that Harris relied on the false police report to press charges. Kaady contends that the charges

were dropped based on the evidence of his alibi – evidence that Kaady, his attorney, and his

fiancé had urged defendants to investigate for seven months.

       Now before the court are defendants PPB, Shiferaw, and Dobbs’ motion and defendant

Harris’s motion, made under Federal Rule of Civil Procedure 12(b)(6), to dismiss Kaady’s

claims. As explained below, the court recommends that PPB, Shiferaw and Dobbs’ motion be

granted in part and denied in part, and that Harris’s motion be granted with leave to amend.

                                        BACKGROUND

       The court presents the facts, as it must, in the light most favorable to Kaady. On June 26,

2019, Kaady attended a doctor’s appointment with Dr. Schwartz at 10:30 a.m. in Portland.

Kaady obtained a note from Dr. Schwartz as proof of that visit, as required by a court order in an

unrelated matter. (Id.) Dr. Schwartz signed the note at 10:45 a.m. After his appointment, Kaady

was required to attend two group meetings at Volunteers of America (VOA). Kaady arrived at

the VOA site at 11:00 a.m. and sent an email attaching Dr. Schwartz’s note to the judge assigned

to the unrelated matter at 11:30 a.m. After Kaady’s meetings ended around 2:15 p.m., he took the

light-rail train to Gateway Transit Center. Kaady walked from the Gateway station to a friend’s

house at Northeast 108th Avenue and Knott Street, borrowed his friend’s bike, and rode it to

Northeast 122nd Avenue and Knott Street, arriving around 4:30 p.m. Somewhere around




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Northeast 122nd Avenue, Kaady dropped his copy of Dr. Schwartz’s note. (Second Am. Compl.

(SAC) at 6, ECF No. 19.)

       That same day, sometime between 6:45 a.m. and 11:00 a.m., the Nelson residence was

burglarized near where Kaady dropped his doctor’s note. Defendants Shiferaw and Dobbs

responded to the burglary, collected evidence, and left the scene at 1:49 p.m. (Id. at 5.) Sometime

after 4:00 p.m., Nelson called Shiferaw and Dobbs to report that he found some papers and a

doctor’s note with Kaady’s name on it in the middle of the road near Nelson’s residence. (Id. at

6.)

       On June 30, 2019, Shiferaw and Dobbs arrived at Kaady’s home and searched his room.

At that time, Shiferaw informed Kaady that a laptop was stolen during the burglary, which

contained pictures of Nelson’s grandchildren. Kaady responded, “Why would I rob some old

man?” Shiferaw accused Kaady of knowing details that only the burglar would know, such as the

victim’s age. (Id. at 6.) Kaady asked when the burglary occurred and informed Shiferaw that he

had been at appointments that day. Shiferaw did not tell Kaady what time the burglary occurred.

(Id. at 7.) Shiferaw and Dobbs arrested Kaady for burglary and he was taken into custody. (Id. at

6.) Shiferaw drafted a police report, omitting Kaady’s protestation that he attended appointments

on June 26, 2019, and including Kaady’s statement about the victim’s age without mentioning

that Shiferaw said the stolen laptop included pictures of the victim’s grandchildren. (Id. at 7.)

       Defendant Harris relied on Shiferaw’s police report to charge Kaady with burglary.

Within a month of his arrest, Kaady’s attorney informed Harris that Kaady was innocent and had

an alibi. At one point, Kaady’s attorney and Harris scheduled a meeting, and Kaady was

transferred from jail to the courthouse to participate. However, Harris informed Kaady’s attorney


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that “Kaady is still denying involvement” and that unless he wanted to admit guilt or provide

information, they would proceed to trial. Harris then canceled the meeting. (Id.)

       Kaady’s fiancé contacted Harris and pleaded with her to examine the evidence and

consider Kaady’s alibi. Harris responded that she had lots of evidence of Kaady’s guilt and that

he would “be going to prison for a very long time.” Kaady’s attorney gathered signed affidavits

from Dr. Schwartz and VOA staff confirming his alibi and filed a factual challenge to the

burglary charges brought against Kaady. The burglary charges were dropped and Kaady was

released three or four weeks later. Approximately seven months passed between Kaady’s arrest

on June 30, 2019, and his release. (Id. at 8.)

       In this § 1983 action, Kaady brings claims against Shiferaw, Dobbs, PPB, and Harris

asserting that he was falsely arrested, unreasonably detained, and maliciously prosecuted in

violation of his Fourth and Fourteenth Amendment rights.1 Kaady alleges that Shiferaw and

Dobbs failed to conduct an adequate investigation, refused to consider his alibi before arresting

him, and refused to investigate his alibi after his arrest, despite corroborating evidence of his

alibi. Kaady also alleges that Shiferaw falsified a police report that Harris relied upon to secure

his arrest, and that despite providing exculpatory evidence, he remained in jail for seven months.

Kaady further alleges that Harris maliciously prosecuted him without probable cause, and




1
        Kaady concedes that he is not bringing claims under the Fifth or Sixth Amendments.
(Pl.’s Resp. at 5 n.1, ECF No. 64.) Kaady also concedes that the Portland Police Bureau is not an
appropriate defendant. (Id. at 5 n.2.) See Shore v. City of Portland, Or., Case No. 3:17-cv-01519-
YY, 2018 WL 3469037, at *2 (D. Or. May 21, 2018), adopted 2018 WL 3463262 (July 17,
2018) (dismissing claims against Portland Police Bureau as an improper party). Accordingly, the
motion to dismiss PPB as defendant should be granted with prejudice.

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unreasonably prolonged his detention by failing to investigate his alibi or ensure his speedy

release after receiving exculpatory evidence.

       Shiferaw and Dobbs move to dismiss under Rule 12(b)(6), contending that Kaady has

failed to adequately plead his claims. Harris moves to dismiss under Rule 12(b)(6), arguing that

she is entitled to absolute immunity against all claims. The court addresses Shiferaw and Dobbs’

motion to dismiss first and Harris’s second.


                                      LEGAL STANDARD

       Under Rule 12(b)(6), a party may move to dismiss a complaint for “failure to state a

claim upon which relief can be granted.” FED. R. CIV. P. 12(b)(6). To survive a motion to

dismiss, a complaint must contain sufficient factual matter, accepted as true, to “state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); see

also CallerID4u, Inc. v. MCI Commc’ns Servs. Inc., 880 F.3d 1048, 1061 (9th Cir. 2018). “A

claim has facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009); Teixeira v. Cnty. of Alameda, 873 F.3d 670, 678 (9th Cir.

2017). A court may dismiss “‘based on the lack of cognizable legal theory or the absence of

sufficient facts alleged’” under a cognizable legal theory. UMG Recordings, Inc. v. Shelter Cap.

Partners LLC, 718 F.3d 1006, 1014 (9th Cir. 2013) (quoting Balistreri v. Pacifica Police Dep’t,

901 F.2d 696, 699 (9th Cir. 1990)). The court must accept as true the allegations in the complaint

and construe them in favor of the plaintiff. Teixeira, 873 F.3d at 678; Iqbal, 556 U.S. at 679.

       Rule 8 does not require “‘detailed factual allegations,’” but it “demands more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678 (quoting

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Twombly, 550 U.S. at 555). “A pleading that offers labels and conclusions or a formulaic

recitation of the elements of a cause of action will not do.” Id. (internal quotations and citations

omitted. A complaint must allege more than “naked assertion[s]” devoid of “further factual

enhancement.” Twombly, 550 U.S. at 557.

       Further, when a plaintiff proceeds without attorney representation (pro se),2 the court

must construe the pleadings liberally and afford the plaintiff the benefit of any doubt. Erickson v.

Pardus, 551 U.S. 89, 94 (2007). Moreover, before dismissing a pro se civil rights complaint for

failure to state a claim, the court must state the complaint’s deficiencies. Karim-Panahi v. L.A.

Police Dep’t, 839 F.2d 621, 623-24 (9th Cir. 1988). Unless the complaint’s deficiencies clearly

cannot be corrected by amending the complaint, a pro se litigant is permitted to amend it. Lopez

v. Smith, 203 F.3d 1122, 1130-31 (9th Cir. 2000).

                                           DISCUSSION

A.     Shiferaw and Dobbs’ Motion to Dismiss

       1.      § 1983 Standards

       Section 1983 is a “vehicle by which plaintiffs can bring federal constitutional and

statutory challenges to actions by state and local officials.” Anderson v. Warner, 451 F.3d 1063,

1067 (9th Cir. 2006). To adequately state a claim under §1983, a plaintiff must allege two

essential elements: (1) a federal constitutional or statutory right was violated; and (2) the alleged

violation was committed by a person acting under the color of state law. Devereaux v. Abbey,

263 F.3d 1070, 1074 (9th Cir. 2001); Rubin v. Oregon, Case No. 3:19-cv-01377-IM, 2022 WL

2713904, at *3 (D. Or. July 13, 2022), appeal filed (9th Cir. Aug. 10, 2022).


2
       Plaintiff is now represented by counsel but his complaint was filed pro se.

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       Generally, liability under § 1983 must be based on the defendant’s personal involvement.

Barren v. Harrington, 152 F.3d 1193, 1194 (9th Cir. 1998) (citation omitted). “A plaintiff must

allege facts, not simply conclusions, that show that an individual was personally involved in the

deprivation of his civil rights.” Id. Therefore, “state officials are not subject to suit under § 1983

unless they play an affirmative part in the alleged deprivation of constitutional rights.” King v.

Atiyeh, 814 F.2d 565, 568 (9th Cir. 1987) (citation omitted), overruled on other grounds by

Lacey v. Maricopa Cnty., 693 F.3d 896 (9th Cir. 2012).

       2.      Officer Dobbs

       Defendants move to dismiss the claims asserted against Officer Dobbs because the SAC

contains no specific allegations against Dobbs, aside from her being present at the time of

Kaady’s arrest. Defendants argue that the SAC lacks any allegation that Dobbs personally was

involved in any alleged deprivation of Kaady’s rights, and that the claims against her must be

dismissed.

       Kaady does not respond directly to defendants’ specific argument concerning the

allegations against Dobbs. Instead, Kaady generally asserts that he has pleaded sufficient facts to

state claims for false arrest, unreasonably prolonged detention, and malicious prosecution against

Shiferaw and Dobbs. The court agrees with defendants.

       In the SAC, the only mention of Dobbs’ alleged personal participation is that she assisted

Shiferaw with investigating the burglary at Nelson’s residence on June 26, 2019, and that she

was present during Kaady’s arrest on June 30, 2019. There are no allegations that Dobbs

participated in the search of Kaady’s room or spoke with Kaady before placing him under arrest.

Unlike the allegations against Shiferaw, the SAC contains no allegations that Dobbs knew of


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Kaady’s alleged alibi or that she participated in preparing the police report. Thus, Kaady has

failed to allege that Dobbs personally participated in the alleged constitutional violations, and the

claims against Dobbs should be dismissed without prejudice and with leave to replead.

       3.      Fourth Amendment Claims for False Arrest and False Imprisonment under
               § 1983

       The Fourth Amendment protects “[t]he right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures[.]” U.S. CONST. AMEND.

IV. “An arrest without probable cause violates the Fourth Amendment and gives rise to a claim

for damages under § 1983.” Harper v. City of L.A., 533 F.3d 1010, 1022 (9th Cir. 2008). To

prevail on a § 1983 claim for false imprisonment or wrongful detention, Kaady likewise must

plead facts showing that there was no probable cause. Cabrera v. City of Huntington Park, 159

F.3d 374, 380 (9th Cir. 1998).3 Thus, at the motion to dismiss stage, Kaady must allege that he

was arrested and detained without probable cause to sustain his Fourth Amendment claims.

       “To determine whether an officer had probable cause for an arrest, we examine the events

leading up to the arrest, and then decide whether these historical facts, viewed from the

standpoint of an objectively reasonable police officer, amount to probable cause.” O’Doan v.

Sanford, 991 F.3d 1027, 1039 (9th Cir. 2021) (quoting D.C. v. Wesby, 138 S. Ct. 577, 586 (2018)

(internal citations and quotation omitted)). “Whether probable cause exists depends upon the



3
         Additionally, qualified immunity “shields federal and state officials from money damages
unless a plaintiff pleads facts showing (1) that the official violated a statutory or constitutional
right, and (2) that the right was clearly established at the time of the challenged conduct.”
Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011) (simplified). Shiferaw and Dobbs have not set out
in their motion to dismiss why they are entitled to qualified immunity as an alternative to their
argument that Kaady has failed to properly allege facts demonstrating that there was no probable
cause to arrest him.

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reasonable conclusion to be drawn from the facts known to the arresting officer at the time of the

arrest.” Devenpeck v. Alford, 543 U.S. 146, 152 (2004). Probable cause is a “fluid concept” that

“depends on the totality of circumstances.” O’Doan, 991 F.3d at 1039 (quoting Wesby, 138 S.

Ct. at 586). And probable cause “requires only a probability or substantial chance of criminal

activity, not an actual showing of such activity.” Id. Establishing probable cause “is not a high

bar.” Id. (citations and quotations omitted). Yet probable cause requires more than “mere

suspicion, common rumor, or even strong reason[s]” to make an arrest. Ramirez v. City of Buena

Park, 560 F.3d 1012, 1023 (9th Cir. 2009) (citation and quotation marks omitted).

       Defendants argue that Kaady has failed to allege plausible facts showing that he was

arrested without probable cause and that, consequently, his false arrest and false imprisonment

claims must be dismissed. Defendants contend that probable cause existed after Nelson found

papers with Kaady’s name, Kaady permitted Shiferaw to search his room, and Kaady willingly

spoke to Shiferaw regarding the burglary. (Defs.’ Mot. Dismiss at 8.) Defendants argue that

Kaady’s allegations do not show that he clearly communicated that he had an alibi to Shiferaw

either before or after his arrest. Moreover, defendants maintain that even if Kaady informed

Shiferaw that he had an alibi before his arrest, that fact alone would not mean that probable cause

was lacking at the time of his arrest.

       Kaady responds that, at the time of his arrest, he proclaimed his innocence to Shiferaw,

that Shiferaw refused to tell him what time the burglary occurred, and that he strongly suggested

he had an alibi. Kaady also argues that Shiferaw’s contention that he knew facts about the

victim’s age was premised on facts that Shiferaw provided, which undermines any finding of




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probable cause. Kaady argues that the totality of the circumstances shows that he has adequately

pleaded his Fourth Amendment claims. The court agrees with Kaady.

       As alleged in the SAC, the totality of the information known to Shiferaw was that a note

with Kaady’s name was recovered near the burglary scene hours after the initial investigation of

Nelson’s residence was completed, and that Kaady asked “Why would I rob some old man?”

after Shiferaw stated photographs of Nelson’s grandchildren were stolen. (SAC at 6.) The note,

which is alleged to have been discovered by the burglary victim in the middle of the road hours

after Shiferaw and Dobbs conducted their investigation, may have been sufficient to alert the

officers that they should question Kaady, but it is certainly not enough to provide a substantial

chance that Kaady burgled the victim’s house. Neither is Kaady’s statement about the victim’s

age. Because Shiferaw is alleged to have provided Kaady with the information that the victim’s

laptop computer had photos of his grandchildren, one could readily guess that the victim was

elderly. Again, Kaady’s statement about the victim’s age does not meet the threshold for

probable cause. Even when the statement and the note are considered together, there is far from

enough to establish probable cause. Probable cause is a “fluid concept,” as defendants point out,

but the “fluidity” of the concept means that there is no bright line or rigid test for a probable

cause determination. Probable cause is a “common-sense, practical question.” Illinois v. Gates,

462 U.S. 213, 214(1983). And, on the alleged facts known to Shiferaw and Dobbs, a common-

sense approach does not permit a reasonable conclusion that Kaady committed the burglary.4


4
       Defendants contend that Shiferaw relied in part on “investigative material” as well as his
“observations and conversations" obtained from his search of Kaady’s room to formulate
probable cause. Shiferaw, however, does not detail what evidence his search of Kaady’s room
yielded or its connection to the burglary.


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Accordingly, the court concludes that Kaady has plausibly alleged that he was arrested and

detained without probable cause sufficient to survive defendants’ Rule 12(b)(6) motion. See

Rosenbaum v. Washoe Cnty., 663 F.3d 1071, 1076-77 (9th Cir. 2011) (holding the officer did not

have probable cause to make a warrantless arrest).5

       4.      Fourteenth Amendment Due Process Claims for Unreasonably Prolonged
               Detention and Fabrication of the Police Report

       Defendants argue that Kaady has failed to sufficiently allege that their failure to

investigate his alibi unnecessarily prolonged his detention, and that the claim should be

dismissed. Kaady argues that defendants’ refusal to undertake any investigation, despite his

repeated protestations of innocence and the availability of exculpatory evidence violated his due

process rights. (Pl.’s Resp. City Defs.’ Mot. Dismiss at 9-10.)

       The due process clause of the Fourteenth Amendment protects against unlawful

deprivations of liberty. Lee v. City of L.A., 250 F.3d 668, 683 (9th Cir. 2001) (recognizing that

the Fourteenth Amendment protects the right to be free from detention or incarceration absent

due process). As the Ninth Circuit has recognized, “the loss of liberty caused by an individual’s

mistaken incarceration ‘after the lapse of a certain amount of time’ gives rise to a claim under the

Due Process Clause of the Fourteenth Amendment.” Id. (quoting Baker v. McCollan, 443 U.S.

137, 145(1979)). Thus, a detained person has “‘a constitutional right to be free from continued

detention after it was or should have been known that the detainee was entitled to release.’” Id.

(quoting Cannon v. Macon Cnty., 1 F.3d 1558, 1563 (11th Cir. 1993)).




5
       Although defendants briefly mention qualified immunity, their argument is not developed
and the court declines to address it further on this motion to dismiss.

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       Kaady alleges that Shiferaw refused to listen to his repeated protestations of innocence

and that he had an alibi. As discussed above, the note linking Kaady to the burglary was

recovered hours after the initial investigation, and Kaady’s statement about the age of victim

came from information gleaned from Shiferaw. Broadly reading Kaady’s complaint, had

Shiferaw conducted a minimal investigation into his alibi, he would have discovered that Kaady

could not have committed the burglary at the Nelson residence. Kaady ultimately was detained

for seven months before the charges were dropped. Assuming the truth of these allegations, as

the court must at this stage, the court finds that Kaady has plausibly alleged that Shiferaw

violated his liberty interests in being free from continued incarceration sufficient to state a due

process violation at the pleading stage. Lee, 250 F.3d at 684. Defendants’ motion to dismiss this

claim should be denied.

       Defendants argue that Kaady has not sufficiently alleged a claim for deliberate

fabrication of evidence. To support a claim for fabrication, a plaintiff must allege facts showing

(1) defendants continued their investigation into him even though they knew or should have

known that he was innocent, or (2) defendants used investigative techniques that were so

coercive and abusive they knew or should have known that their tactics would yield false

information. O’Doan, 991 F.3d at 1045; Deveraux, 263 F.3d at 1079 (recognizing a due process

right not to be subjected to criminal charges based on falsified evidence). A claim of deliberate

fabrication requires pleading facts that show more than mere omission or carelessness. O’Doan,

991 F.3d at 1045; Rubin, 2022 WL 2713904, at * 5.

       Defendants contend that Kaady has not alleged facts suggesting that Shiferaw

deliberately fabricated his police report. In defendants’ view, because Kaady has not alleged that


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Shiferaw knew or should have known that he was innocent, or that Shiferaw used abusive

investigative techniques, he has not plausibly shown how any alleged omission of information

amounts to deliberate fabrication. The court disagrees.

       Broadly reading Kaady’s pro se complaint, Kaady plausibly alleges a claim of deliberate

fabrication. (Pl.’s Resp. City Defs.’ Mot. Dismiss at 5.) Kaady alleges that Shiferaw, in an effort

to paint his statement regarding the victim’s age as inculpatory, was dishonest in crafting the

police report by deliberately omitting the material fact that Shiferaw told him that pictures of

grandchildren were on the stolen laptop. (SAC at 7.) Moreover, Kaady alleges that the false

claims and material omissions in the report served as a basis for his indictment. Viewing those

facts in the light most favorable to Kaady, the court can infer that Shiferaw’s actions were more

than carelessness and were instead purposefully false claims about the evidence against him.

Based on those allegations in the SAC relating to Shiferaw’s report, the court concludes that

Kaady has sufficiently alleged a due process claim for deliberate fabrication against Shiferaw to

survive at the pleading stage. Consequently, defendants’ motion to dismiss on this basis should

be denied.

       5.      Malicious Prosecution against Shiferaw under § 1983

       “A criminal defendant may maintain a malicious prosecution claim not only against

prosecutors but also against others—including police officers and investigators—who

wrongfully caused his prosecution.” Smith v. Almada, 640 F.3d 931, 938 (9th Cir. 2011) (citing

Galbraith v. Cnty. of Santa Clara, 307 F.3d 1119, 1126 (9th Cir. 2002)). To state a claim of

malicious prosecution under § 1983, Kaady must plead facts showing: (1) a state-law malicious

prosecution claim; and (2) the defendants intended to deprive him of a constitutional right.


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Awabdy v. City of Adelanto, 368 F.3d 1062, 1066 (9th Cir. 2004); Worley v. Brewer, Case No.

3:16-cv-02412-BR, 2017 WL 2880401, at *5 (D. Or. July 5, 2017). In Oregon, the elements of a

malicious prosecution claim are: “(1) the institution or continuation of criminal proceedings, (2)

by or at the insistence of the defendant, (3) termination of such proceedings in the plaintiff’s

favor, (4) malice, (5) lack of probable cause for the proceedings, and (6) injury or damages as a

result.” Worley, 2017 WL 2880401, at *5; Rubin, 2022 WL 2713904, at *6; Singh v.

McLaughlin, 255 Or. App. 340, 352 (2013) (stating elements of malicious prosecution under

Oregon law). See also Thompson v. Clark, 142 S. Ct. 1332, 1340-41 (2002) (discussing that §

1983 claims for malicious prosecution are properly alleged under the Fourth Amendment and do

not require that a plaintiff affirmatively show innocence; “[a] plaintiff need only show that the

criminal prosecution ended without a conviction”).

       Defendants argue that because Harris secured an indictment for burglary, there was an

independent assessment of probable cause, which breaks the chain of causation and bars any

claims against Shiferaw under the Fourth or Fourteenth Amendments. Defendants contend that

Kaady does not allege that Shiferaw was involved in prosecuting his criminal case after criminal

charges were filed. In defendants’ view, Kaady’s allegations that Shiferaw omitted information

in the police report are conclusory and insufficient, and thus fail to show that Shiferaw

deliberately fabricated evidence that led to the charges against him, and that his malicious

prosecution claim fails.

       Kaady argues that he can sustain a malicious prosecution claim against Shiferaw because

he has alleged that Shiferaw filed a police report containing falsified and fabricated evidence that

Harris relied upon to obtain the burglary indictment. (Pl.’s Resp. at 11.) Kaady alleges that


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Shiferaw lied about what was in Kaady’s room and took his statements out of context when

preparing his police report. (SAC at 7.) Kaady also alleges that Shiferaw’s police report omitted

crucial parts of the conversation they had at the time of his arrest. (Id.)

       Typically, a decision by a prosecutor to bring charges through an indictment or criminal

complaint is “presumed to result from an independent determination on the prosecutor.” Awabdy,

368 F.3d at 1067. This independent assessment of probable cause may immunize officials who

participated in the investigation or filed a report that resulted in initiating criminal proceedings.

Id. Prosecutorial independence, however, “does not bar a subsequent § 1983 claim against state

or local officials who improperly exerted pressure on the prosecutor, knowingly provided

misinformation to him, concealed exculpatory evidence, or otherwise engaged in wrongful or

bad faith conduct that was actively instrumental in causing the initiation of legal proceedings.”

Id. (citing Galbraith, 307 F.3d at 1126-27).

       For example, in Galbraith, the Ninth Circuit determined that allegations in the complaint

that a coroner recklessly and intentionally falsified an autopsy report, lied to investigators, and

provided false testimony at a preliminary hearing that caused Galbraith’s arrest and prosecution

sufficiently stated Fourth Amendment violation to survive a motion to dismiss. Galbraith, 307

F.3d at 1127; see also Worley, 2017 WL 2880401, at *5 (“The presumption of prosecutorial

independence, however, does not bar a subsequent § 1983 claim against those who knowingly

provided misinformation, concealed exculpatory evidence, or otherwise engaged in wrongful or

bad faith conduct that was actively instrumental in causing the initiation of legal proceedings.”).

       Viewing the allegations in the SAC in the light most favorable to Kaady, the court

concludes that he has sufficiently alleged that Shiferaw arrested him without probable cause,


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falsified information in the police report about what information he knew at the time of Kaady’s

arrest, and that the false information was relied upon by Harris to indict him for burglary to state

a claim of malicious prosecution.

        The court is not persuaded by defendants reliance on O’Doan, 991 F.3d at 1045. O’Doan

discussed whether the plaintiff’s due process claim for deliberately fabricated police reports

survived the officer’s assertion of qualified immunity at summary judgment. Id. Because the

court is applying Rule 12(b)(6) standards here, defendants’ reliance on O’Doan is misplaced.

Moreover, Awadby and Galbraith provide that allegations of false testimony, bad faith,

recklessness, and knowing provision of false testimony are sufficient at the pleading stage to

assert a malicious prosecution claim under § 1983.

        For all these reasons, the court concludes that Kaady has adequately pleaded a § 1983

malicious prosecution claim under the Fourth and Fourteenth Amendments against Shiferaw.

Accordingly, defendants’ motion to dismiss this claim should be denied.

B.      Harris’s Motion to Dismiss

        Kaady brings two § 1983 claims against Harris: (1) malicious prosecution, and (2)

unreasonably prolonged detention. Kaady alleges that Harris initiated criminal charges without

probable cause in violation of his Fourth Amendment rights and failed to investigate allegations

of his alibi and failed to quickly secure his release once his alibi was corroborated. Harris moves

to dismiss, arguing that she is entitled to absolute immunity because his claims concern her core

functions as prosecutor.

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       1.      Fourth Amendment malicious prosecution under § 1983

       Absolute “[i]mmunity attaches to ‘the nature of the function performed, not the identity

of the actor who performed it.” Lacey, 693 F.3d at 912 (9th Cir. 2012) (quoting Kalina v.

Fletcher, 522 U.S. 118, 127 (1997)); Buckley v. Fitzsimmons, 509 U.S. 259, 269 (1993). “A

prosecutor is entitled to absolute immunity from a civil action for damages when he or she

performs a function that is ‘intimately associated with the judicial phase of the criminal

process.’” Ewing v. City of Stockton, 588 F.3d 1218, 1232 (9th Cir. 2009) (quoting Imbler v.

Pachtman, 424 U.S. 409, 430 (1976)); Barnett v. Marquis, 16 F. Supp. 3d 1218, 1222 (D. Or.

2014) (holding prosecutors are “absolutely immune from liability under § 1983 for their conduct

in initiating a prosecution and in presenting the State’s case” associated with the judicial phase of

criminal prosecution), aff’d, 662 F. App’x. 537, 539 (9th Cir. 2016). Prosecutors receive

qualified immunity, however, when performing administrative or investigative functions, or

functioning as a police officer or detective. Kalina, 522 U.S. at 125-26; Broam v. Bogan, 320

F.3d 1023, 1028 (9th Cir. 2003).

       “Functions for which absolute prosecutorial immunity have been granted include the

lawyerly functions of organizing and analyzing evidence and law, and then presenting evidence

and analysis to the courts and grand juries on behalf of the government; they also include internal

decisions and processes that determine how those functions will be carried out.” Lacey, 693 F.3d

at 913 (internal quotation omitted). Thus, a prosecutor is entitled to absolute immunity for

initiating a prosecution and presenting the State’s case. Imbler, 424 U.S. at 431. Likewise, a

prosecutor is entitled to absolute immunity for deciding not to prosecute a defendant. Roe v. City

and Cnty. of San Francisco, 109 F.3d 578, 583 (9th Cir. 1997).


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       Harris highlights that Kaady does not allege that she had any involvement in the case

against Kaady prior to filing the burglary charges against him. (Def.’s Harris Mot. to Dismiss at

4, ECF No. 48.) Harris contends that her determination to institute charges, and subsequently

drop those charges, is “intimately associated with the judicial phase of the criminal process.”

Accepting all of Kaady’s allegations against her as true, Harris argues that she is absolutely

immune from Kaady’s malicious prosecution claim.

       Kaady responds that he has adequately alleged all the elements of this claim,6 and that

Harris wrongfully instituted and continued criminal proceedings against him for a crime he did

not commit, despite his protestations of innocence and proof of an alibi.

       Harris is entitled to absolute immunity on Kaady’s malicious prosecution claim. Harris is

not alleged to have any involvement in the burglary case until after Kaady was arrested and

charged with burglary. (SAC at 7.) Kaady asserts that Harris relied on a fabricated police report

to obtain the indictment. (Id.) There are no factual allegations, however, that Harris knew the

police report contained false information, that she played any role in fabricating the police report,

or that she assisted Shiferaw and Dobbs in any aspect of their investigation. Making

determinations about what criminal charges to pursue, and her decision not to prosecute are

decisions “intimately associated with the judicial phase of the criminal process.” Imbler, 424

U.S. at 430. Therefore, viewing the allegations in the light most favorable to Kaady, Harris was

acting squarely within her prosecutorial function when she obtained a burglary indictment on

behalf of the State. Kalina, 522 U.S. at 125-26 (holding prosecutor’s action in preparing



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       The elements of Kaady’s malicious prosecution claim are detailed in the discussion of his
claim against Shiferaw. The court does not repeat those elements here.

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information charging document against defendant was entitled to absolute immunity); Genzler v.

Longanback, 410 F.3d 630, 637 (9th Cir. 2005) (providing prosecutor enjoys absolute immunity

from suit alleging that she maliciously initiated a prosecution); Buckley, 509 U.S. at 273

(prosecutor’s evaluation of the evidence pre-indictment is entitled to absolute immunity).

Likewise, Harris’s decision to later drop those charges is entitled to absolute immunity. Roe v.

City and Cnty. of San Francisco, 109 F.3d at 583. Consequently, the court recommends that

Kaady’s claim for malicious prosecution against Harris be dismissed with prejudice.

       2.      unreasonably prolonged detainment/excessive detainment

       Kaady also alleges that Harris violated his due process right to be free from incarceration

absent a criminal conviction under the Fourteenth Amendment. Kaady contends that Harris

mishandled exculpatory evidence – evidence of his alibi – by failing to listen to his attorney and

fiancé and by failing to expeditiously secure his release after receiving affidavits that confirmed

his alibi. In Kaady’s view, Harris was functioning as an investigator each time she was faced

with a question about Kaady’s alibi and therefore is entitled to qualified immunity only.

       Harris does not challenge the sufficiency of Kaady’s pleading in her motion. Instead,

Harris argues that she was functioning in her quasi-judicial role as a prosecutor when she

received the information about Kaady’s alibi, and that absolute immunity bars his claim for

damages on this theory. Harris contends that her assessment of the evidence, including its

relative strength and weakness, informs her decision about what plea offers to make, how to

present evidence at trial, and if a prosecution should be terminated. Harris argues that as alleged,

she performed only prosecutorial functions and is protected by absolute immunity.




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       Prosecutors have absolute immunity from suit when “performing functions that require

the exercise of prosecutorial discretion.” Kalina, 522 U.S. at 125. “However, even after the

initiation of criminal proceedings, a prosecutor may receive only qualified immunity when acting

in a capacity that is exclusively investigatory or administrative.” Broam, 320 F.3d at 1031; see

also Buckley, 509 U.S. at 274 n.5 (providing that “a determination of probable cause does not

guarantee a prosecutor absolute immunity from liability for all actions taken afterwards”). The

line between traditional prosecutorial activities and investigative activities is not clear. Broam,

320 F.3d at 1209.

       Kaady relies on Fairley v. Lumen, 281 F.3d 913, 918 (9th Cir. 2002), where the plaintiff

challenged his 12-day detention after he was mistakenly arrested on warrants intended for his

twin brother. In Fairley, the court recognized that “[e]ven detention pursuant to a valid warrant

but in the face of repeated protests of innocence will, after a lapse of time, deprive the accused of

a constitutional ‘liberty.’” Id. at 917-18 (quoting Baker, 443 U.S. at 143). Courts have

recognized that a plaintiff may state a due process claim if the defendant knew or should have

known that the plaintiff was entitled to release. Lee, 250 F.3d at 683; Grant v. Cnty. of L.A., 772

F.3d 608, 619 (9th Cir. 2014). And, detention after a court-ordered release may violate

constitutional rights. Berry v. Baca, 379 F.3d 764, 768 (9th Cir. 2004). In Kaady’s view, because

he was wrongfully detained for seven months, he has adequately pleaded a claim and Harris’s

absolute immunity defense must be rejected.

       Harris argues that Fairley is distinguishable because it involved a Monell claim against a

municipality that had no procedures in place to ensure that defendants in custody were detained

on the correct warrant. Harris contends that she was under no obligation to inform the court


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about potentially exculpatory evidence that originated with the defendant. Harris argues that her

assessment of the evidence, including any exculpatory evidence, is a prosecutorial function and

she is entitled to absolute immunity.

        The court cannot reach a conclusion, at this time, if Harris is entitled to absolute

immunity with respect to this claim. See Martinez v. City of Colton, Case No. EDCV 16-702-

CAS(DTBx), 2016 WL 4547149, (C.D. Cal. Aug. 30, 2016) (denying motion to dismiss

wrongful imprisonment claim). Viewing the allegations in the SAC in the light most favorable to

Kaady, the court cannot determine if Harris was functioning in her role as quasi-judicial

prosecutor at all at times. The SAC does not contain specific dates or sufficient details with

respect to Harris’s actions. Kaady alleges that Harris ignored his repeated insistence that he had

an alibi and repeated attempts by his attorney and fiancé to investigate his alibi. It is unknown

when Harris received information from Kaady’s attorney, fiancé, or the affidavits corroborating

Kaady’s alibi. And Kaady asserts that Harris took three to four weeks after receiving the

affidavits from Dr. Schwartz and VOA staff to secure his release.

        Construing those facts in Kaady’s favor, it is unclear if Harris was functioning in a

prosecutorial role or an investigatory role on each occasion. Therefore, the court recommends

that Harris’s motion to dismiss be granted with leave to amend. See Broam, 320 F.3d at 1029

(holding that prosecutors are entitled to only to qualified immunity when they are “essentially

functioning as a police officer or detective”).

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                                         CONCLUSION

       As explained above, defendant Harris’s motion to dismiss (ECF No. 48) should be

GRANTED with leave to amend, and defendants’ Shiferaw, Dobbs, and PPB’s motion to dismiss

(ECF No. 40) should be GRANTED IN PART, and DENIED IN PART.


                                    SCHEDULING ORDER

       The Findings and Recommendation will be referred to a district judge. Objections, if any,

are due within fourteen days. If no objections are filed, the Findings and Recommendation will

go under advisement on that date. If objections are filed, a response is due within fourteen days.

When the response is due or filed, whichever date is earlier, the Findings and Recommendation

will go under advisement.

       DATED: May 11, 2023.


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                                                                             JEFF ARMISTEAD
                                                                   United States Magistrate Judge




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